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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     FRANKFORT

 MARCELLA KELLY and
 NATHAN KELLY,

        Plaintiffs,

 v.                                                          Case No. 3:17-CV-36

 NISSAN MOTOR ACCEPTANCE
 CORPORATION,

        Defendant.

                               NOTICE OF PENDING SETTLEMENT

        Plaintiffs, MARCELLA KELLY and NATHAN KELLY, by and through their

 undersigned counsel, hereby notifies the Court that the parties, Plaintiffs, MARCELLA KELLY

 and NATHAN KELLY, and Defendant, NISSAN MOTOR ACCEPTANCE CORPORATION,

 have reached a settlement with regard to this case, and are presently drafting, and finalizing the

 settlement agreement, and general release documents. Upon execution of the same, the parties

 will file the appropriate dismissal documents with the Court.



                                                     /s/ Shaughn C .Hill___________
                                                     SHAUGHN C. HILL, ESQUIRE
                                                     Florida Bar No. 105998
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                                                     Attorney for Plaintiff
Case: 3:17-cv-00036-GFVT-EBA Doc #: 19 Filed: 04/02/18 Page: 2 of 2 - Page ID#: 84



                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 2nd day of April, 2018, the foregoing was filed

 electronically in accordance with the Court’s guidelines, using the Court’s CM/ECF system, and

 a copy of which was served via electronic mail to:



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 Timothy D. Thompson
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                                                      /s/ Shaughn C. Hill____________
                                                      SHAUGHN HILL, ESQUIRE
                                                      Florida Bar No.: 105998
